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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on December 8, 2017, I electronically filed the foregoing with the
 3 Clerk of the Court using the CM/ECF system which will send notification of such filing to the

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22

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27

28   DECLARATION OF MICHAEL J. FITZGERALD IN
     SUPPORT OF RESPONSE TO STATE’S MOTIONS TO
     SEAL (No. 3:17-cv-05690-BHS)                     -8-
